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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DANTE GAMBOA,

                                          CASE NO.: 1:16-cv-02350-ELR-RGV

v.

MERRICK BANK CORPORATION, CARSON
SMITHFIELD, LLC, and FINANCIAL BUSINESS
AND CONSUMER SOLUTIONS, INC.,

     Defendants.
_______________________________/

 RESPONSE TO DEFENDANTS MERRICK BANK CORPORATION AND
  CARSON SMITHFIELD, LLC'S MOTION TO DISMISS COMPLAINT

     Plaintiff Dante Gamboa, by and through undersigned counsel, and pursuant to

the Federal Rules of Civil Procedure, hereby responds to Defendants Merrick Bank

Corporation and Carson Smithfield, LLC Motion to Dismiss the Complaint (Doc.

11), and in support states as follows:




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                                 INTRODUCTION

      Defendants' Motion to Dismiss should be denied. Plaintiff has more than

adequately stated a claim under the FDCPA by alleging that Defendants continued

to telephone him after he instructed them to stop. Further, Plaintiff has sufficiently

alleged the existence of a “debt” under the FDCPA and any additional information

is already in Defendants' possession and would not go towards satisfying the

statutory definition. With respect to the TCPA, the overly-detailed allegations that

Defendants request are not required by law. Finally, Plaintiff has standing under

Article III because he has alleged violations of substantive rights created by statute,

which under recent Eleventh Circuit case law is a proper basis for standing.

                FACTUAL AND PROCEDURAL BACKGROUND

     1.     Plaintiff filed the Complaint in the above-captioned case on June 29,

2016. Doc. 1.

     2.     Plaintiff's Complaint asserts claims under the Telephone Consumer

Protection Act (“TCPA”) and the Fair Debt Collection Practices Act (“FDCPA”)

against the defendants.

      3.      Plaintiff's claims are based on calls received from Defendant Merrick

Bank Corporation (“Merrick”) and several of its debt-collector agents that were


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made to Plaintiff after he expressly instructed them to stop calling him. Doc. 1, ¶¶

10-19.

      4.     On August 10, 2016, Defendants Merrick and Carson Smithfield, LLC

(“Carson Smithfield”) (collectively with Merrick, “Defendants”) filed a Motion to

Dismiss the Complaint and a memorandum in support of that motion (the “Motion

to Dismiss”). Doc. 11.

      5.     Plaintiff herein responds to the Motion to Dismiss.

                      MOTION TO DISMISS STANDARD

      To survive a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), the allegations must be plausible and sufficient to raise a right to relief

above a speculative level. Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007).

However, “a short plain statement of the claim is all that is required . . . . “ Id.

Moreover, while a sufficient complaint requires “more than an unadorned, the

defendant-unlawfully-harmed-me accusations,” it does not require “detailed factual

allegations.” Ashcroft v. Iqbal, No.: 07-1015, 556 U.S. 662, 678, 129 S. Ct. 1937,

1950 (May 18, 2009).




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     A complaint “must be liberally construed, assuming the facts alleged therein

as true and drawing all reasonable inferences from those facts in the plaintiff’s

favor.” Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007). A complaint “should

not be dismissed simply because the court is doubtful that the plaintiff will be able

to prove all of the necessary factual allegations.” Id.; see also Kindred Hosp. E.,

LLC. v. PH0110552 Contractors & Merchants, No. 09-60697-CIV, 2009 WL

2611944 (S.D. Fla. Aug. 24, 2009).

                                  ARGUMENT

A.    Plaintiff's Complaint states a claim against Carson Smithfield for
      violation of the FDCPA

      1. The Complaint Alleges that Carson Engaged in Unlawful Activity

      Defendants first argue that “Plaintiff fails to allege which subsection of

Section 1692d Carson Smithfield has allegedly violated.”          Doc. 11-1, p. 7.

However, Defendants' argument is defeated by the statutory language itself.

      Under 15 U.S.C. § 1692d, “A debt collector may not engage in any conduct

the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt. Without limiting the general application

of the foregoing, the following conduct is a violation of this section . . .” The

statute goes on to list some specific examples of such conduct. The specific

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subsections of § 1692d “merely provide[] an illustration of the sort of conduct that

is prohibited by § 1692d.” Penny v. Williams & Fudge, Inc., 840 F. Supp. 2d 1314,

1320 (M.D. Fla. 2012) (quoting Diaz v. D.L. Recovery Corp., 486 F. Supp. 2d 474,

477 (E.D. Pa. 2007).

      In other words, Plaintiff does not need to cite a specific subsection of §

1692d to state a claim under that provision of the FDCPA. See Meadows v.

Franklin Collection Svc., 414 Fed. Appx. 230, 232-33 (11th Cir. 2011) (noting that

the subsections are “a non-exhaustive list of prohibited conduct.”).

       2.    Plaintiff has sufficiently pleaded a claim under § 1692d because
             Defendants calls continued after Plaintiff told the Defendants to
             stop

      The conduct set forth in the Complaint states a claim under § 1692d.

“[C]laims under § 1692d should be viewed from the perspective of a consumer

whose circumstances makes [sic] him relatively more susceptible to harassment,

oppression, or abuse.” Meadows v. Franklin Collection Svc., 414 Fed. Appx. 230,

232-33 (11th Cir. 2011) (quoting Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1178

(11th Cir. 1985).

      Numerous cases have held that continuing to call a debtor after a verbal

demand for such calls to cease constitutes a violation of 15 U.S.C. § 1692d. See


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Pratt v. CMRE Fin. Svcs., 2012 WL 86957, at *3-4 (E.D. Mo. Jan. 11, 2012)

Moore v. Firstsource Advantage, LLC, 2011 WL 4345703, at *14 (W.D.N.Y. Sep.

15, 2011) (“[C]ontrary to Defendant's contention, even if a debtor never submits a

written cease and desist demand, a collector's conduct following a verbal demand

still can violate the FDCPA by constituting harassment or abuse.”); Kerwin v.

Remittance Assistance Corp., 559 F. Supp. 2d 1117, 1124 (D. Nev. 2008) (a

genuine issue of material fact existed with respect to claimed violation of § 1692d

where debt collector continued to call plaintiff even after being verbally informed

it had the wrong number); Barnes v. Seterus, Inc., 2013 WL 6834720, at *2-3 (S.D.

Fla. Dec. 26, 2013) (“Considering the frequency of Defendant's calls, 1.5 times a

day, despite being told to stop, Plaintiff has made a plausible claim that Defendant

intended to harass Plaintiff, and not to simply get in touch.”); Bingham v.

Collection Bureau, Inc., 505 F. Supp. 864 (D.N.D. 1981) (holding that when a call

was terminated and the collection agency called back immediately, that subsequent

call alone could constitute harassment under § 1692d(5) regardless of the content

of the call).




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        Defendants argue that “[r]epeated calls – standing alone – are insufficient to

constitute a violation of Section 1692d(5),” (Doc. 11-1, p. 7) but the calls here

were not “standing alone.” They came with a demand from Plaintiff to cease and

Defendants refused. Doc. 1, ¶ 14.

        The case law Defendants cite betrays their own position. For instance,

Defendants cite Lardner v. Diversified Consultants, Inc., 17 F. Supp. 3d 12151

(S.D. Fla. 2014). But the Court there granted summary judgment because the

plaintiff did not “set forth any additional evidence of egregious or harassing

behavior, such as requesting the communications stop,” which is exactly the

conduct alleged here. Id. at 1226. See Doc. 11-1, pp. 7-8; Valle v. Nat'l Recovery

Agency, 2012 WL 1831156, at *2 (M.D. Fla. May 18, 2012) (plaintiff there “never

demanded cessation of the calls”); Tucker v. CBE Group, Inc., 710 F. Supp. 1301,

1305 (M.D. Fla. 2010) (“Notably, Defendant never even spoke to Plaintiff . . . and

Plaintiff did not request that CBE cease calling.”); Clayton v. Asset Plus Cos., LP,

2014 WL 6388430, at *3 (S.D. Tex. Nov. 14, 2014) (“[W]here courts have found

that plaintiffs have stated a claim for harassment or abuse, a high volume of phone

calls is typically accompanied by allegations of other objectionable conduct” and


1 Defendants' Motion to Dismiss includes an apparently incorrect citation to Lardner, which instead references the
  defendant's motion for summary judgment in that case. Doc. 11-1, p. 7.

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citing a case where a cease and desist demand was present); Shand-Pistilli v. Prof.

Account Svcs., Inc., 2010 WL 2978029, at *5 (E.D. Pa. July 26, 2010) (finding that

where plaintiff “asked defendant to stop contacting her but defendant refused to do

so” was “factually sufficient to support a plausible claim of relief under section

1692d(5).”). All of the cases Defendants cite to support their position actually

undermine it.

      The crux of this cause of action is that Defendants began calling Plaintiff to

collect a debt, Plaintiff told them to stop calling him, and they continued unabated.

That is harassment.

      Defendants' Motion to Dismiss should be denied.



      3.     Plaintiff withdraws without prejudice claims under § 1692e and §
             1692f

      Defendants also assert that Plaintiff has failed to allege sufficient facts under

15 U.S.C. § 1692e and does not allege additional conduct besides the claims raised

under 15 U.S.C. § 1692d to raise a claim under § 1692f. Plaintiff concedes

Defendants' arguments and will withdraw without prejudice the alleged violation

of those two FDCPA subsections.



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B.    Plaintiff Has Sufficiently Alleged The Existence of a “Debt”

      Defendants next argues that Plaintiff has “provided no details” regarding the

debt they were attempting to collect. Doc. 11-1, pp. 10-11. Defendants do not

assert what details are not present. Nor do Defendants explain why they cannot

assess whether it is a “debt,” when Defendant Merrick Bank is the original creditor

of the debt, Carson Smithfield was collecting it, and they attach to their motion

what they claim to be the contract creating the debt.

      Under 15 U.S.C. § 1692a(5), a “debt” means “any obligation or alleged

obligation of a consumer to pay money arising out of a transaction in which the

money, property, insurance, or services which are the subject of the transaction are

primarily for personal, family, or household purposes, whether or not such

obligation has been reduced to judgment.” Plaintiff has asserted that the debt at

issue satisfies that standard. Doc. 1, ¶ 10. See Perk v. Worden, 475 F. Supp. 2d

565, 569 (E.D. Va. 2007) (“Plaintiff alleges that the debt was incurred for personal

use, and at this stage of the proceedings that is sufficient to properly state a

claim.”); see also Pierce v. Calvary SPV I, LLC, 2013 WL 6773632, at *4 (W.D.

Pa. Dec. 20, 2013) (“Here, Plaintiff has alleged that her purported debt was 'for




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personal, family, or household purposes.' The Court finds these allegations are

sufficient to survive a motion to dismiss.”) (internal citations omitted).

      While Plaintiff recognizes that the Complaint allegations relating to the debt

are not overly-detailed, providing additional details will not assist Defendants in

any way because: (1) identifying the form of the debt (i.e., credit card, promissory

note, IOU, etc.), when it was incurred, or how much is owed, does nothing to

satisfy the elements of the statutory definition of a “debt”; and (2) Defendant

Merrick is already in possession of the necessary information. Indeed, Defendants

have improperly attached to their motion what they allege to be the contract

creating the debt. Doc. 11-1, Ex. A. For them to now argue that they cannot

determine “whether the calls truly constitute an attempt to collect a 'debt' within

the meaning of the FDCPA,” is disingenuous. Doc. 11-1, p. 11. Because Plaintiff

has sufficiently asserted the existence of a “debt” under the FDCPA, Defendants'

Motion to Dismiss should be denied.




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C.    Plaintiff has stated a cause of action under the TCPA

      Defendants next argue that Plaintiff must allege the dates and identifying

phone numbers of calls to him alleged to be in violation of the TCPA. Plaintiff has

alleged several of the phone numbers from which Defendants called Plaintiff. Doc.

1, ¶¶ 16-17. As discussed below, Plaintiff need not allege the dates on which he

revoked any consent for Defendants calls.

      Defendants cite one case, Augustin v. Santander Consumer USA, Inc., 43 F.

Supp. 3d 1251 (M.D. Fla. 2012). However, Augustin is inapposite here. There, the

plaintiff, Augustin, alleged that the defendant was calling his cell phone to collect a

“debt quite possibly belong[ing] to his girlfriend who has had previous business

dealings with either Defendant.”        Id. at 1254.    The Court agreed with the

defendant that it “cannot check the files of the intended recipient of the calls,

Plaintiff's girlfriend, without her name or either of their cell phone numbers, or the

numbers from which the calls were allegedly placed.” Id. The Court held that lack

of information would not give the “defendant fair notice of what the … claim is

and the ground upon which it rests.” Id. But that situation is not present here

because there is nothing preventing Defendants from checking their own files for

the information it claims is missing.


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      Other cases have held that such a high level of detail as Defendants request

is not appropriate at the pleading stage. In Robbins v. Coca-Cola Co., 2013 WL

2252646, at *2-3 (S.D. Cal. May 22, 2013), the defendant moved to dismiss,

arguing “that by failing to allege the exact dates, time, SMS codes, cellular phone

numbers, contents, and other details . . .,” the plaintiff failed to state a claim. Id. at

*1. The Court rejected that argument, holding that “to plead a TCPA claim,

Plaintiffs need only allege two elements: (1) a call to a cellular telephone; (2) via

an ATDS [automatic telephone dialing system].” Id. at *2. Because the plaintiff

made such allegations, the motion to dismiss was denied. See also Manfred v.

Bennett Law, PLLC, 2012 WL 6102071, at *2 (S.D. Fla. Dec. 7, 2012) (finding

plaintiff sufficiently pleaded claim under TCPA 'by alleging that Defendants used

an automatic telephone dialing system or an artificial or pre-recorded voice to

place the telephone calls to Plaintiff's cellular phone').

      The level of detail sought by Defendants is akin to the heightened pleading

standard for an allegation of fraud. See Fed.R.Civ.P. 9(b); Mizzaro v. Home Depot,

Inc., 544 F.3d 1230, 1237 (11th Cir. 2007) (“[U]nder Rule 9(b), it is sufficient to

plead the who, what, when, where, and how of the allegedly false statements and




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then allege generally that those statements were made with the requisite intent.”).

That level of detail is not required here.

        Defendants cites an unverified, unauthenticated document from outside the

four corners of the complaint to allege that “Merrick and Carson Smithfield were

authorized – and had Plaintiff's consent – to call him regarding any debts.” Doc.

11-1, p. 12. Defendants use that document to argue that Plaintiff's claims fail as a

matter of law.

        Under the TCPA, it is the defendant's burden to prove that it had initial

consent to make cell phone calls using an automated dialing system. See Lardner,

17 F. Supp. 3d at 1224 (“[P]rior express consent” is “an affirmative defense for

which the defendant bears the burden of proof.”) (internal citations omitted). Here,

Defendants allege that they have already met their burden before any discovery has

even occurred. But the contract they attach does not identify Plaintiff in any way,

does not include Plaintiff's name, does not contain Plaintiff (or Defendants')

signature, does not name Defendant Carson Smithfield, is unauthenticated and

unverified.2 The document should be disregarded. Plaintiff respectfully requests

the Court deny Defendants' Motion to Dismiss.


2 To the extent Defendants claim that the authenticity of the document is unchallenged, they are incorrect.

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D.        Plaintiff has Article III standing based on Defendants' violation of his
          substantive rights

          Finally, Defendants assert that Plaintiff lacks standing to assert these claims.

Doc. 11-1, pp. 16-17.                 However, Defendants argument misinterprets Supreme

Court case law to reach that conclusion.

          The Supreme Court recently addressed the issue of standing in the context of

another consumer protection statute, the Fair Credit Reporting Act., in Spokeo, Inc.

v. Robins, 136 S. Ct. 1540 (2016). For constitutional purposes, “standing consists

of three elements.” Id. at 1547. These are that “the plaintiff must have (1) suffered

an injury in fact, (2) that is fairly traceable to the challenged conduct of the

defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Id.

          Defendants, like the defendant in Spokeo, appear to be challenging only the

first of these elements, whether Plaintiffs suffered an “injury in fact.” “To establish

injury in fact, a plaintiff must show that he or she suffered ‘an invasion of a legally

protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not

conjectural or hypothetical.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan v.

Defenders of Wildlife, 504 U.S. 555, 559–560, (1992)).

     Plaintiffs will challenge the authenticity of this document in discovery.

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      The Spokeo decision “reaffirmed three important principles of its standing

jurisprudence: first, that 'concrete' is not synonymous with tangible; second, 'that

Congress may ‘elevate to the status of legally cognizable injuries concrete, de facto

injuries that were previously inadequate in law,’; and third, that the risk of harm

alone can satisfy the requirement of concreteness.” Dickens v. GC Svcs. Ltd.

P'ship, 2016 WL 3917530, at *2 (M.D. Fla. July 20, 2016). An injury-in-fact, as

required by Article III, “may exist solely by virtue of 'statutes creating legal rights,

the invasion of which creates standing ....'” Havens Realty Corp. v. Coleman, 455

U.S. 363, 373 (1982) (quoting Warth v. Seldin, 422 U.S. 490, 500 (1975)); see also

Palm Beach Golf Ctr.-Boca, Inc. v. Sarris, D.D.S., P.A., 781 F.3d 1245, 1251 (11th

Cir. 2015).

      Very recently, the Eleventh Circuit interpreted Spokeo and found standing

can exist by virtue of a defendant not complying with the law. In Church v.

Accretive Health, Inc., ____ Fed. Appx. ____, 2016 WL 3611543, at *1 (11th Cir.

July 6, 2016), the plaintiff, Church, did not receive certain disclosures required

under a provision of the FDCPA.          The Eleventh Circuit recognized that, by

enacting that FDCPA provision, “Congress has created a new right—the right to

receive the required disclosures in communications governed by the FDCPA—and


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a new injury—not receiving such disclosures.” Id. at *3. In holding that the

plaintiff therefore had Article III standing, the Eleventh Circuit held that:

      “The invasion of Church's right to receive the disclosures is not
      hypothetical or uncertain; Church did not receive information to which
      she alleges she was entitled. While this injury may not have resulted in
      tangible economic or physical harm that courts often expect, the
      Supreme Court has made clear an injury need not be tangible to be
      concrete. Rather, this injury is one that Congress has elevated to the
      status of a legally cognizable injury through the FDCPA.” Id. (internal
      citations omitted).


      The FDCPA and the TCPA establish substantive, not procedural, rights to be

free from harassing calls that consumers have not consented to receive. “Both

history and the judgment of Congress suggest that violation of this substantive

right is sufficient to constitute a concrete, de facto injury. As other courts have

observed, American and English courts have long heard cases in which plaintiffs

alleged that defendants affirmatively directed their conduct at plaintiffs to invade

their privacy and disturb their solitude.” A.D. v. Credit One Bank, N.A., 2016 WL

4417077, at *7 (N.D. Ill. Aug. 19, 2016) (holding that standing exists for violations

of the TCPA) (citing Mey v. Got Warranty, Inc., No. 5:15 C 101, 2016 WL

3645195, at *3 (N.D.W.V. June 30, 2016) (“[T]he TCPA can be seen as merely

liberalizing and codifying the application of [a] common law tort to a particularly


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intrusive type of unwanted telephone call.”); Caudill v. Wells Fargo Home Mort.,

Inc., No. 5:16-066-DCR, 2016 WL 3820195, at *2 (E.D. Ky. July 11, 2016)

(“[The] alleged harms, such as invasion of privacy, have traditionally been

regarded as providing a basis for a lawsuit in the United States.”)).

      “Congress enacted the TCPA to protect consumers from the annoyance,

irritation, and unwanted nuisance of telemarketing phone calls, granting protection

to consumers' identifiable concrete interests in preserving their rights to privacy

and seclusion.” Id. See also Prindle v. Carrington Mtg. Svcs., LLC, 2016 WL

4369424, at *7-11 (M.D. Fla. Aug. 16, 2016). Defendants' Motion to Dismiss

appears to conflate the “concrete harm” required for standing with actual damages.

That is not the standard set forth by the Supreme Court.

      Here, as in Church, Plaintiff has alleged violation of statutorily-created,

substantive rights to not receive harassing calls to his cell phone made by an

automated dialing system. Because Plaintiff has alleged Defendants violated those

rights, Plaintiff has standing under Article III. Defendants' Motion to Dismiss

should be denied.




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                                 CONCLUSION

      For the reasons set forth above, Plaintiff respectfully requests that

Defendants' Motion to Dismiss be denied.

Dated: August 31, 2016                Respectfully Submitted,

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                         CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2016, a true and correct copy of the

forgoing was filed with the Clerk of Court for the Northern District of Georgia

through the CM/ECF system that will give notice to all parties of record.

                                        /s/ Sumeet Shah
                                        Counsel for Plaintiff


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